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Attorneys for Defendants
APT-320, LLC and INVESTORS
FUNDING CORPORATION, as Trustee
for an unrecorded Loan Participation
Agreement dated June 30, 2014

                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada           )   CIVIL NO. 16-00347 JMS RLP
Limited Liability Company; CRAIG B.   )
STANLEY, as Trustee for THE           )   STIPULATION FOR DISMISSAL
EDMON KELLER AND                      )   WITHOUT PREJUDICE OF
CLEAVETTE MAE STANLEY                 )   DEFENDANT APT-320'S
FAMILY TRUST; CRAIG B.                )   CROSSCLAIMS AGAINST
STANLEY, individually; MILLICENT      )   DEFENDANTS ABNER
ANDRADE, individually,                )   GAURINO, AURORA GAURINO,
                                      )   CRISTETA C. OWAN, ROMMEL
                  Plaintiffs,         )   GUZMAN, AND FIDELITY
                                      )   NATIONAL TITLE & ESCROW
      vs.                             )   OF HAWAII [DOC. # 40]; ORDER
                                      )
                                      )   (Caption continued on next page)
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ABNER GAURINO; AURORA                    )
GAURINO; ABIGAIL GAURINO;                )
INVESTORS FUNDING                        )       Judge: Hon. J. Michael Seabright
CORPORATION, as Trustee for an           )       Trial: October 16, 2018
unrecorded Loan Participation            )
Agreement dated June 30, 2014; APT-      )
320, LLC, a Hawaii Limited Liability     )
Company; CRISTETA C. OWAN, an            )
individual; ROMMEL GUZMAN;               )
FIDELITY NATIONAL TITLE &                )
ESCROW OF HAWAII and DOES 1-             )
100 Inclusive,                           )
                                         )
                   Defendants.           )
                                         )
                                         )

        STIPULATION FOR DISMISSAL WITHOUT PREJUDICE
             OF DEFENDANT APT-320'S CROSSCLAIMS
         AGAINST DEFENDANTS ABNER GAURINO, AURORA
       GAURINO, CRISTETA C. OWAN, ROMMEL GUZMAN, AND
    FIDELITY NATIONAL TITLE & ESCROW OF HAWAII [DOC. #40]

             IT IS HEREBY STIPULATED, pursuant to Rule 41(a)(1)(A)(ii) and (c)

of the Federal Rules of Civil Procedure, by and among the parties hereto through their

respective counsel, that Defendant APT-320, LLC’s crossclaims against Defendants

Abner Gaurino, Aurora Gaurino, Cristeta C. Owan, Rommel Guzman, and Fidelity

National Title & Escrow of Hawaii [Doc. # 40] are hereby dismissed without

prejudice.




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            DATED: Honolulu, Hawaii; July 10, 2018.

                                    /s/ Charles A. Price
                                    CHARLES A. PRICE
                                    WILLIAM J. PLUM
                                    Attorneys for Defendants
                                    APT-320, LLC and INVESTORS
                                    FUNDING CORPORATION, as Trustee
                                    for an unrecorded Loan Participation
                                    Agreement dated June 30, 2014

                                    /s/ Robert D. Eheler, Jr.
                                    JOHN R. REMIS, JR.
                                    ROBERT D. EHELER, JR.
                                    Attorneys for Defendants
                                    ABNER GAURINO, AURORA
                                    GAURINO and ABIGAIL GAURINO

                                    /s/ Stephen P. Pingree
                                    STEPHEN P. PINGREE
                                    Attorney for Defendant
                                    CRISTETA C. OWAN

                                    /s/ Wayne P. Nasser
                                    WAYNE P. NASSER
                                    Attorney for Defendants
                                    ROMMEL GUZMAN and FIDELITY
                                    NATIONAL TITLE & ESCROW OF
                                    HAWAII


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__________________________________________________________________
Atooi Aloha, LLC, et al. vs. Abner Gaurino, et al.; Civil No. 16-00347 JMS RLP;
STIPULATION FOR DISMISSAL WITHOUT PREJUDICE OFDEFENDANT APT-
320'S CROSSCLAIMS AGAINST DEFENDANTS ABNER GAURINO, AURORA
GAURINO, CRISTETA C. OWAN, ROMMEL GUZMAN, AND FIDELITY
NATIONAL TITLE & ESCROW OF HAWAII [DOC. # 40]; ORDER

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DATED: Honolulu, Hawaii, July 11, 2018

APPROVED AND SO ORDERED:



                                            /s/ J. Michael Seabright
                                           J. Michael Seabright
                                           Chief United States District Judge




__________________________________________________________________
Atooi Aloha, LLC, et al. vs. Abner Gaurino, et al.; Civil No. 16-00347 JMS RLP;
STIPULATION FOR DISMISSAL WITHOUT PREJUDICE OFDEFENDANT
APT-320'S CROSSCLAIMS AGAINST DEFENDANTS ABNER GAURINO,
AURORA GAURINO, CRISTETA C. OWAN, ROMMEL GUZMAN, AND
FIDELITY NATIONAL TITLE & ESCROW OF HAWAII [DOC. # 40]; ORDER


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